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    9   Attorneys for Plaintiff
   10   ALICIA NOEMI BAUTISTA DIAZ
   11
                          UNITED STATES DISTRICT COURT
   12
                        CENTRAL DISTRICT OF CALIFORNIA
   13

   14   ALICIA NOEMI BAUTISTA DIAZ,           Case No. 2:21-cv-03273-JAK-JEM
        an individual;
   15                                         PLAINTIFF ALICIA NOEMI
                                 Plaintiff,
   16                                         BAUTISTA DIAZ’S NOTICE OF
                 vs.                          SETTLEMENT
   17

   18   GATE GOURMET, INC., a Delaware        Complaint Filed: March 15, 2021
        corporation; and DOES 1 through 25,   Trial Date:   None set
   19   inclusive,
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                                Defendants.
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                           PLAINTIFF’S NOTICE OF SETTLEMENT
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    1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
    2   RECORD:
    3         PLEASE TAKE NOTICE that Plaintiff Alicia Noemi Bautsista Diaz
    4   (“Plaintiff”) and Defendant Gate Gourmet, Inc. (“Defendant”) (collectively the
    5   “Parties”) have reached a settlement in the above-referenced case. A formal
    6   settlement agreement will be circulated between the Parties for review and
    7   approval. Once all of the appropriate signatures have been obtained and the
    8   agreement’s terms fully executed, an executed Stipulation of Dismissal of the
    9   entire action will be filed.
   10    Dated: July 8, 2021                   Respectfully submitted,
   11                                          MOON & YANG, A.P.C.
   12
                                          By: /s/ Christopher Garcia
   13                                         SEUNG YANG
                                              CHRISTOPHER YANG
   14                                         Attorneys for Plaintiff
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                               PLAINTIFF’S NOTICE OF SETTLEMENT
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    1            CERTIFICATE/PROOF OF SERVICE BY E-SERVICE
    2
              I am employed in Los Angeles County, California. I am over the age of
    3
        eighteen years and not a party to the within-entitled action. My business
    4   address is 1055 West Seventh Street, Suite 1880, Los Angeles, California
    5   90017. On July 8, 2021 I served the foregoing document described as:
    6         PLAINTIFF ALICIA NOEMI BAUTISTA DIAZ’S NOTICE OF
    7                           SETTLEMENT
    8
              X [by ELECTRONIC SUBMISSION] - I served the above listed
    9
        document(s) described via the United States District Court’s Electronic Filing
   10   Program on the designated recipients via electronic transmission through the
   11   CM/ECF system on the Court’s website. The Court’s CM/ECF system will
        generate a Notice of Electronic Filing (NEF) to the filing party, the assigned
   12
        judge, and any registered users in the case. The NEF will constitute service of
   13   the document(s). Registration as a CM/ECF user constitutes consent to
   14   electronic service through the court’s transmission facilities.
   15
              I declare that I am employed in the office of a member of the bar of this
   16
        Court at whose direction the service was made.
   17
              Executed July 8, 2021 at Los Angeles, California.
   18
                Christopher L. Garcia           By: /s/ Christopher Garcia
   19           Print Name                                  Signature

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                                        CERTIFICATE OF SERVICE
